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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

TODD K. WHITAKER, on behalf of
himself and on behalf of all others
similarly situated,

       Plaintiff,

v.                                            Case No. : 8:17-cv-00731-EAK-MAP

BVM THE BRIDGES, LLC,


      Defendant.
____________________________________/

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff, TODD K. WHITAKER, pursuant to Federal Rule of Civil Procedure 41(a),

hereby voluntarily dismisses this action without prejudice, each side to bear its own fees and costs.

       Dated this 16th day of June, 2017.

                                              Respectfully submitted,


                                              /s/ Christopher J. Saba
                                              LUIS A. CABASSA
                                              Florida Bar Number: 053643
                                              Direct No.: 813-379-2565
                                              CHRISTOPHER J. SABA
                                              Florida Bar Number: 092016
                                              Direct No.: 813-321-4086
                                              WENZEL FENTON CABASSA, P.A.
                                              1110 North Florida Ave., Suite 300
                                              Tampa, Florida 33602
                                              Main No.: 813-224-0431
                                              Facsimile: 813-229-8712
                                              Email: lcabassa@wfclaw.com
                                              Email: csaba@wfclaw.com
                                              Email: twells@wfclaw.com
                                              Email: tsoriano@wfclaw.com
                                              Attorneys for Plaintiff
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of June, 2017, a true and correct copy of the

foregoing has been sent via e-mail and U.S. Mail to the following:

Scott M. Bonavita
Bonavita Law Firm, P.A.
13902 North Dale Mabry Highway
Suite 203
Tampa, FL 33618
Email: scott@bonavitalw.com


                                            /s/ Christopher J. Saba
                                            CHRISTOPHER J. SABA
